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                               UNITED STATES DISTRICT COURT
                                                                                     JS-6
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

Case No. 2:20-cv-08339-GW-AFM                                             Date: October 19, 2020
Title      Tuafono Tiatia v. Dr. Mario Nawaz et al.


Present: The Honorable:       ALEXANDER F. MacKINNON, U.S. Magistrate Judge


                  Ilene Bernal                                             N/A
                  Deputy Clerk                                    Court Reporter / Recorder

          Attorneys Present for Plaintiff:                   Attorneys Present for Defendants:
                       N/A                                                 N/A

Proceedings (In Chambers): Order Dismissing Action (Filed October 14, 2020; ECF No. 14)

       Plaintiff has filed a Motion to Dismiss-Without Prejudice which the Court construes as a
voluntary dismissal pursuant to Federal Rule of Civil Procedure 41(a). Accordingly, this action is
dismissed without prejudice. All dates and deadlines are vacated.
        IT IS SO ORDERED.




                                                                    Initials of Preparer            :
                                                                                                   ib




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